Case: 15-2108 Document: 3 Filed: 06/30/2015

No. 15-2108

Pages: 23

 

UNITED STATES COURT OF APPEALS
FOR THE SEVENTH CIRCUIT

UNITED STATES OF AMERICA
Plaintiff — Appellee,

Vv.

DANIEL T. ECKSTROM
Defendant — Appellant.

 

Appeal from the United States District Court
for the Northern District of Indiana
Case No. 2:13 CR 84
The Honorable Philip Peter Simon
United States District Judge

 

BRIEF AND REQUIRED SHORT APPENDIX

OF DEFENDANT — APPELLANT ECKSTROM DANIEL THOMAS

 

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Attorney at Law
8396 Mississippi Street

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Atiomey for Defendant — Appellant
ECKSTROM DANIEL THOMAS
Case: 15-2108 Document: 3 Filed: 06/30/2015 Pages: 23

CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

Appellate Court No: 15-2108
Short Caption: United States v. Eckstrom

To enable the judges to determine whether recusal is necessary or appropriate, an attomey for a non-governmental party or
amicus curiae, or a private attorney representing a government party, must furnish a disclosure statement providing the
following information in compliance with Circuit Rule 26.1 and Fed. R. App. P. 26.1.

The Court prefers that the disclosure statement be filed immediately following docketing; but, the disclosure statement must
be filed within 21 days of docketing or upon the filing of a motion, response, petition, or answer in this court, whichever occurs
first. Attorneys are required to file an amended statement to reflect any material changes in the required information. The text
of the statement must also be included in front of the table of contents of the party's main brief. Counsel is required to
complete the entire statement and to use N/A for any information that is not applicable if this form is used.

{ ] PLEASE CHECK HERE IF ANY INFORMATION ON THIS FORM IS NEW OR REVISED
AND INDICATE WHICH INFORMATION IS NEW OR REVISED.

(1) The full name of every party that the attorney represents in the case (if the party is a corporation, you must provide the
corporate disclosure information required by Fed. R. App. P 26.1 by completing item #3):

Ecksirom Daniel Thomas

 

 

 

(2) The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings
in the district court or before an administrative agency) or are expected to appear for the party in this court:

P. Jefirey Schlesinger, Attorney at Law, 8396 Mississippi Street, Suite G, Merrillville, IN 46410

 

 

 

(3) Ifthe party or amicus is a corporation:

i) Identify all its parent corporations, if any; and
N/A

 

ii) list any publicly held company that owns 10% or more of the party’s or amicus’ stock:
N/A

 

 

Attomey's Signature: S/ P. Jeffrey Schlesinger Date: June 30, 2015
Aitomey’s Printed Name: _P. Jefirey Schlesinger

 

 

 

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d). Yes x No

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JURISDICTIONAL STATEMENT

This is a direct appeal from a judgment in a criminal case entered by the United States
District Court, Northern District of Indiana, Hammond Division. Specifically, this is an appeal
challenging the sentence imposed by the district court.

The United States District Court for the Northern District of Indiana had original
jurisdiction pursuant to 18 U.S.C. §3231 which provides exclusive jurisdiction for offenses
against the United States, and Fed. R. Crim. Pro. 18. The underlying indictment in this case
charged Appellant Daniel Eckstrom with multiple offenses in violation of Title 18, United States
Code §§2251 and 2252. The United States Court of Appeals for the Seventh Circuit has
appellate jurisdiction pursuant to 28 U.S.C. §§1291 and 1294 and 18 U.S.C. §3742(a)(1) and (2).
Mr. Eckstrom challenges his sentence as violating the Eight Amendment to the United States
Constitution. This appeal is from a final judgement of conviction and sentence entered on May

18, 2015. Mr. Eckstrom filed a timely Notice of Appeal on May 20, 2015.

ISSUE PRESENTED FOR REVIEW

Whether the sentencing considerations in 18 U.S.C. §3553 and the Eighth Amendment to
the United States Constitution prohibit the sentence of two thousand eight hundred eighty
months which the District Court imposed upon Mr. Eckstrom.

STATEMENT OF THE CASE
1. Nature of the ease

The Indictment filed in this case against Mr. Eckstrom contained seven Counts of

Production of Child Pornography. The first five counts involved the same victim (identified in

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the Indictment as Jane Doe 1). Count One of the Indictment alleged that between January 1,
2009 and on or about December 31, 2009 Mr. Eckstrom attempted to and did knowingly employ,
use, persuade, induce, entice and coerce Jane Doe 1 who was eight to nine years old at that time
to engage in sexually explicit conduct for the purpose of producing any visual depiction of such
conduct, where such visual depiction was produced using materials that had been mailed,
shipped, transported and affecting interstate commerce by any means. Counts Two through Five
charged the same conduct with Jane Doe 1 with each count specifying a different year from 2010
through 2013.

Count Six charged Mr. Eckstrom with knowingly employ, use, persuade, induce, entice
and coerce a different child, Jane Doe 2, who was six to seven years old at the time to engage in
sexually explicit conduct for the purpose of producing any visual depiction of such conduct.
Count Seven involved a third victim, Jane Doe 3 who was nine to ten years old at the time. The
offense was alleged to have been committed between January 1, 2012 and on or about December
31, 2012. Lists of images and videos and dates of production was also included in each count.

Count Eight charged Eckstrom with knowingly distributing, using any means of facility
of interstate foreign commerce, one or more visual depictions of actual minors under the age of
eighteen engaging in sexual explicit conduct between January 1, 2012 and on or about May 23,
2013. Count Nine alleged that Mr. Eckstrom knowingly possessed one or more matters
containing visual depictions which had been mailed, or had been shipped and transported in an
affecting interstate foreign commerce, by any means including by computer, where the
producing of each visual depiction involved the use of actual minors under the age of eighteen
engaged in sexually explicit conduct on or about May 23, 2013.

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2. Relevant Facts and Proceedings in the District Court

Mr. Eckstrom changed his plea to guilty on all counts without the benefit of a plea
agreement on January 7, 2014. After several continuances, a sentencing hearing was held on
May 12, 2015. Following presentation of evidence and arguments by counsel, the court
calculated a guideline range of 43 pursuant to the United States Sentencing Guidelines which
recommended life imprisonment. The court then sentenced Mr. Eckstrom to the maximum term
for each count, three hundred sixty months on each of Counts One to Seven, two hundred forty
months on Count Eight and one hundred twenty months on Count Nine and ordered all terms to
be served consecutively for a total sentence of two thousand eight hundred eighty months. '

SUMMARY OF ARGUMENT

The United States Code and Sentencing Guidelines mandate strict punishment for any
individual involved in production, distribution or possession of child pomography. Children are
certainly among the most vulnerable victims of crimes and deserve protection. Most individuals
are extremely offended by anyone who would produce, distribute or possess child pornography.

Acknowledging strong visceral feelings by the public, the judiciary has an obligation to
consider rationally factors set forth in 18 U.S.C. §3553 when imposing sentence. The nature and
circumstances of the offense are one factor, but no matter how egregious the offense is, it should

not preclude consideration of the history and characteristics of the defendant. Furthermore, the

’ The transcript of the sentencing hearing indicates the total sentence is two thousand two
hundred eighty months, but addition of the individual terms and the written judgment show the
total sentence to be two thousand eight hundred eighty months. (STR. 76).

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statute requires that any sentence imposed be sufficient, but not greater than necessary, to
comply with the purposes set forth therein. Mr. Eckstrom believes that his sentence is so severe
that the trial court could not have properly considered his history or characteristics. Furthermore,
the sentence is so severe that it violates the Eighth Amendment prohibition against cruel and
unusual punishment.
ARGUMENT

A. Standard of Review

The Court of Appeals reviews sentencing decisions for reasonableness, applying the
abuse of discretion standard. Gall v. United States, 552 U.S. 38, 51 (2007).

B. Argument

The Eighth Amendment to the United States Constitution prohibits punishments which
involve the unnecessary wanton infliction of pain, are grossly disproportionate to the severity of
the crime for which an inmate was imprisoned, or are totally without penalogical justification.
United States v. Olsen, 450 F. 3d. 655, 686 (7" Cir. 2006) citing Whitman v. Nesic, 368 F. 3d.
931, 934 (7" Cir. 2004) and Henry v. Page, 223 F. 3d. 477, 482 (7" Cir. 2000), cert. denied, (532
U.S. 959, 2001). In non-capital felony convictions, a particular sentence that falls within
legislatively prescribed limits will not be considered disproportionate unless the sentencing court
abused its discretion. Olsen, supra.

18 U.S.C. §3553(a) authorizes only sentences that are “sufficient, but not greater than
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necessary, to comply with the purposes” of sentencing. Those purposes include the need to
reflect the seriousness of the offense, promote respect for the law, provide just punishment, deter
future criminal activity, protect the public, and provide effective education, training, and
treatment. 18 U.S.C. §3553(a)(2).. When determining a reasonable sentence, the court must
consider various factors listed in 18 U.S.C. §3553(a) including the advisory sentencing guideline,
which it may not presume is reasonable. United States v. Hawk, 434 F. 3d. 959, 963 (7" Cir.
2006); United States v. Schmitt, 495 F. 3d. 860, 864 (7" Cir. 2007).

Mr. Eckstrom acknowledges that it is perfectly acceptable for courts to assign various
weights to the factors as they deem appropriate in the context of each case. United States v.
Busa, 551 F. 3d. 669, 674 (7" Cir. 2008). However, a court’s weighing of those factors must be
“within the bounds of reason”. Id. quoting United States v. Johnson, 471 F. 3d. 764, 766 (7 Cir.
2006). A trial court may abuse its discretion when imposing sentence when, “(1) a court fails to
consider a relevant factor which should have received weight; (2) a court gives significant weight
to an improper or irrelevant factor; or (3) a court considers only the appropriate factors but in
weighing those factors commits a clear error of judgment”. United States v. Kane, 552 F. 3d.
748, 752 (8" Cir. 2009). Mr. Eckstrom contends that the court failed to consider his lack of
criminal history and efforts at rehabilitation as relevant factors which should have received
significant weight, and committed an error of judgement when weighing appropriate factors.

“The judge must justify, by reference to the sentencing factors in 18 U.S.C. §3553(a), the
sentence he imposes — and must do so whether it is inside or outside the applicable guidelines
range.” United States v. Spann, 757 F. 3d. 674, 675 (7" Cir, 2014); citing Gall v. United States,
552 U.S. 38, 49-50 (2007). In Mr. Eckstrom’s case, the trial judge seems to have based the

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sentence upon his personal repulsion of Mr. Eckstrom’s conduct. The judge referred to this as
“the single most disturbing case that I’ve had in twelve or thirteen years as a judge”. (App. 3).
He also referred to the nature of the offense as “unimaginable” (App. 5), “dastardly” (App. 7),
and “unforgivable” (App. 8).

Mr. Eckstrom agrees that the facts of this offense were particularly heinous, but that does
not give the trial judge license to sentence based upon the nature of the crime alone and ignore
the other factors in 18 U.S.C. §3553. The judge failed to explain how the sentence would
promote respect for the law or deter criminal activity either from Mr. Eckstrom or the public in
general. The judge also did not explain why a sentence of two thousand eight hundred eighty
months was sufficient, but not greater than necessary. It appears as though a sentence one
quarter as long or seven hundred twenty months would have equally served all of the purposes of
18 U.S.C. §3553.

The imposition of a maximum sentence also gives Mr. Eckstrom no benefit for
acceptance of responsibility. The United States Sentencing Guidelines gives a criminal
defendant a reduction in sentence in acknowledgment of his accepting responsibility of his
behavior. The adoption of the United States Sentencing Guidelines by the legislature is a clear
indication that the legislature supported a policy to give a defendant in a criminal case a reduced
sentence if they admitied their crimes. The benefit to the government from this provision is
obvious in that it saves considerable time and resources when prosecuting a criminal defendant.
In this case, Mr. Eckstrom admitted that he was guilty of all charged offenses in a timely fashion
thereby saving the government time and expense of a trial. Mr. Eckstrom also identified other

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individuals with whom he had shared child pornography permitting additional prosecutions and
limiting the future distribution of large amounts of child pornography.

The Pre-Sentence Report recommended that Mr. Eckstrom receive a reduction of the
maximum permissible three levels in his guideline range as an indication of his acceptance of
responsibility. Despite the recommendation, Mr. Ecksirom received no credit for his acceptance
of responsibility. His original guideline ranges calculated was 58 and with the three level
reduction it would have been 55. The guidelines provide that any range greater than 43 is
reduced to 43 which is a recommendation of a life sentence. (U.S.S.G., 5A n.2)

In addition, Mr. Eckstrom used the period of time between his arrest and sentencing,
almost two years, to work toward rehabilitation. By imposing the maximum sentence, Mr.
Eckstrom received no credit whatsoever for his acceptance of responsibility. The court thereby
failed to acknowledge the character of the offender. This sentence has policy implications
beyond Mr. Ecksirom. If any criminal defendant has a guideline range above 45, there is no
incentive to plead guilty. In a child pornography case, a plea of guilty not only saves the
government time and money, but spares the victims the possibility of testifying, and the prospect
of reliving their abuse in the media. The fact that he admitted his conduct early and consistently,
demonstrates the desire of Mr. Eckstrom to alter his conduct, another fact which receives no

consideration from the trial court.

CONCLUSION
The district court violated the Eighth Amendment’s prohibition against cruel and unusual
punishment when sentencing Daniel Eckstrom to a term of incarceration of two hundred forty

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years, the maximum for the crimes with which he was charged. The court also violated the

intent of the United States Sentencing Guidelines by failing to give Mr. Eckstrom any credit for

acceptance of responsibility. Finally, the court erred in basing its sentence solely on the nature

of the crime and not giving adequate consideration to the characteristics of Mr. Eckstrom. Mr.

Eckstrom seeks reward and reversal of his sentence. Mr. Eckstrom additionally seeks any other

relief deemed necessary.

DATED: June 30, 2015

P. Jeffrey Schiesinger

Attorney at Law

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Facsimile: (866) 828-7739
pjeffslaw@aol.com

Respectfully submitted,

/s/ P. Jeffrey Schlesinger

P. Jeffrey Schlesinger

Attorney for Defendant-Appellant
Daniel Thomas Eckstrom
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CERTIFICATE OF COMPLIANCE WITH FRAP RULE 32(a)(7)
The Defendant-Appellant’s principal brief does not exceed 30 in length. Accordingly, no

Certificate of Compliance with Fed.R.App.P. 32(a)(7) is required.

Dated: June 30, 2015 Respectfully submitied,

/s/ P. Jeffrey Schlesinger
P. Jeffrey Schlesinger

Attorney for Defendant-Appellant
Daniel Thomas Eckstrom
Case: 15-2108 Document: 3 Filed: 06/30/2015 Pages: 23

CIRCUIT RULE 30(D) STATEMENT
Pursuant to Circuit Rule 30(d), counsel certifies that all material required Circuit Rule

30(a) and (b) are included in the Appendix.

Dated: June 30, 2015 Respectfully submitted,

/s/ P. Jeffrey Schlesinger
P. Jeffrey Schlesinger

Attomey for Defendant-Appellant
Daniel Thomas Eckstrom

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CERTIFICATE OF SERVICE
[hereby certify that on June 30, 2015, I electronically filed the Appellant’s Brief and

Appendix with the Clerk of the Court using the CM/ECF system and sent copies of such filings

to the following:
Jili Koster

Respectfully submitted,

/s/ P. Jeffrey Schlesinger

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JUDGMENT OF THE DISTRICT COURT

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF INDIANA

UNITED STATES OF AMERICA

PI ff CASE NUMBER: 2:13CR84-001
aintiff,
mm USM Number: 12819-027
¥Ss.
DANIEL THOMAS ECKSTROM PAUL JEFFREY SCHLESINGER
DEFENDANT’S ATTORNEY

Defendant.

 

 

JUDGMENT IN A CRIMINAL CASE
THE DEFENDANT pleaded guilty to counts 1 - 9 of the Indictment on 1/7/2014.
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offenses:

 

Count

Title, Section & Nature of Offense Date Offense Ended Number(s)
18:2251(a) AND 18:2 PRODUCTION OF May 24, 2013 1-7
CHILD PORNOGRAPHY AND AIDING AND
ABETTING
18:2252(a)(2) RECEIPT OF CHILD May 24, 2013 8
PORNOGRAPHY
18:2252(a)(4) POSSESSION OF CHILD May 24, 2013 9

PORNOGRAPHY AND 18:2251 AND 2253
SEXUAL EXPLOITATION FORFEITURE
ALLEGATIONS

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

IT IS ORDERED that the defendant must notify the United States Attorney for this district within
30 days of any change of name, residence, or mailing address uniil all fines, restitution, costs
and.special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States Attorney of any material change in
economic circumstances.

May 12, 2015
Date of Imposition of Judgment

s/ Philip P. Simon
Signature of Judge

Philip P. Simon, Chief United States District Judge

 

Name and Title of Judge

May 18, 2015
Date
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Case Number: 2:13CR84-001

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 2,880 months. This term consists of the following:
360 months on each of Counts 1 — 7, 240 months on Count 8, 120 months on Count 9, all terms

to be served consecutively.
The Court makes the following recommendations to the Bureau of Prisons:

(1) That the defendant be placed in a BOP facility that offers the SOMP (Sex Offender
Management Program). Counsel for the defendant specifically noted the facilities at
Marion and Elkion.

(2) That the defendant have the opportunity fo participate in the RDAP Program.

(3) That the defendant receive credit for time served.

(Note: defense counsel notes that the SOMP program is a priority over the RDAP
program if both programs are not available at one facility.

The defendant is REMANDED to the custody of the United States Marshal.

RETURN

| have executed this judgment as follows:

Defendant delivered to at )
with a certified copy of this judgment.

 

UNITED STATES MARSHAL

By:
DEPUTY UNITED STATES MARSHAL

 
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Case Number: 2:13CR84-001

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of
LIFE. This term consists of LIFE on each count, to be served concurrenily.

The defendant shall not commit another federal, state or local crime.

The defendant must report to the probation office in the district to which ithe defendant is
released within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain
from any unlawful use of a controlled substance.

The defendani shall submit to one drug test within 15 days of release from imprisonment and
two (2) periodic drug tests thereafter, as determined by the court.

The defendant shall cooperate in the collection of DNA as directed by the probation officer.

The defendant shall comply with the requirement of the Sex Offender Registration and
Notification Act (42 U.S.C. Section 16901, et seq), as directed by the probation officer, the
Bureau of Prisons, and any state sex offender registration agency in which he resides, works, or
is a student, or was convicted of a qualifying offense.

DISCRETIONARY CONDITIONS

The defendani shall not leave the judicial district without the permission of the court or probation
officer.

The defendant shall report to the probation officer in the manner and as frequently as directed
by the court or probation officer.

The defendant shall not answer falsely any inquiries by the probation officer and follow the
instructions of the probation officer as they relate to the conditions imposed by the court.

The defendant shall work at a lawful occupation, unless excused by the probation officer for
schooling, training or other acceptable reasons, i.e., childcare, eldercare, disability, age, and
serious healih condition.

The defendant shall notify the probation officer at least ten days prior to any change in
residence or employer. In the event that a defendant is involuntarily terminated from
employment or evicted from a residence, the offender must notify the probation officer within
forty-eight (48) hours.

The defendant shall not knowingly and intentionally be in the presence of anyone who is illegally
selling, using or distributing a controlled substance and if such activity commences when he is
present, the defendant must immediately leave the location.

The defendant shall not knowingly and intentionally associate with any persons engaged in
criminal activity.

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Case Number: 2:13CR84-001

The defendant shall permit a probation officer to visit him at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer.

The defendant shall notify the probation officer within seventy-two (72) hours of being arrested
or questioned by a law enforcement officer.

The defendant shall notify the probation officer of any material change in his economic
circumstances that might affect his ability to pay any unpaid amount of restitution, fines or
special assessments.

FURTHER, the defendant shall comply with the following SPECIAL CONDITIONS:

The defendant shall register with local law enforcement agencies and the state attorney
general, as directed by the probation officer.

At the direction and discretion of the probation officer, the defendant shall participate in an
approved psychological and behavioral testing, evaluation, and assessmeni program for the
treatment and monitoring of sex offenders and if warranted, an approved sex-offender group
and individual counseling program. The defendant shall comply with all of the requirements and
restrictions of those programs and pay the costs of these rehabilitative programs if financially
able to do so.

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Case Number: 2:13CR84-001

CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the
schedule of payments set forth in this judgment.

Total Assessment Total Fine Toial Restitution
$900.00 NONE $250,000

The defendant shall make the special assessment payment payable to Clerk, U.S. District
Court, 5400 Federal Plaza, Suite 2300, Hammond, IN 46320. The special assessment payment
shall be due immediately.

FINE
No fine imposed.

RESTITUTION
Restitution in the amount of $250,000 to victim Jane Doe 1 is hereby imposed.

Pursuant to the “Joint Motion to Include Restitution Stipulation in Judgment” filed by the parties
on May 5, 2015, Docket Entry #73, the Court hereby ORDERS defendant to immediately pay
$250,000.00 in victim restitution to the Clerk of the Court in this judicial district. The Clerk of the
Court is ORDERED, in turn, to disburse upon receipt any funds received from defendant to
victim Jane Doe 1, care of the Marsh Law Firm PLLC Client Trust Account. Said payments
should be made via government check and mailed to the following address:

The Marsh Law Firm PLLC
Aitn: Jane
P.O. Box 4668 #65135
New York, NY 10163-4668
Phone: (212) 372-3030

The defendant shall make restitution payments payable to Clerk, U.S. District Court, 5400
Federal Plaza, Suite 2300, Hammond, IN 46320, for the following payees in the amounts listed
below.

Amount of Restitution

Name of Payee Ordered
JANE. DOE 1 250,000.00

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Case Number: 2:13CR84-001

Name:DANIEL THOMAS ECKSTROM
Docket No.:2:13CR84-001

ACKNOWLEDGMENT OF SUPERVISION CONDITIONS

Upon a finding of a viclation of probation or supervised release, | understand that the
Court may (1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the
conditions of supervision.

| have reviewed the Judgment and Commitment Order in my case and the supervision
conditions therein. These conditions have been read to me. | fully understand the conditions
and have been provided a copy of them.

(Signed)

 

Defendant Date

 

U.S. Probation Officer/Designated Witness Date

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